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 3
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 5    807 North 39th Avenue
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 6    509-575-0313
 7    Attorneys for Defendant
 8
 9                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WASHINGTON
10
11    JACLYN RAE SLEATER, and others, )            NO. 4:17-cv-05033-SAB
                                      )
12
                     Plaintiff,       )
13                                    )            DEFENDANT'S ANSWER AND
14
      v.                              )            AFFIRMATIVE DEFENSES
                                      )
15    BENTON COUNTY, a municipal      )            JURY TRIAL DEMANDED
16    corporation,                    )
                                      )
17                   Defendant.       )
18    _______________________________ )
19          Defendant Benton County in answer to plaintiff’s complaint for
20
      violations of civil rights (ECF No. 1), admits, denies, and alleges as follows:
21
22                                 I. INTRODUCTION
23          1.     In answer to paragraph 1 of plaintiff’s complaint styled
24
      "Introduction" and containing several sentences describing the nature of the
25
26    complaint, defendant denies plaintiff’s allegations as more specifically set forth
27
      below in answers to paragraphs 2-42 of the complaint, which answers are
28
29                                                                  MENKE JACKSON BEYER, LLP
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 3
      hereby incorporated by reference. To the extent any allegations contained in
 4
 5    paragraph 1 of the complaint are not answered in defendant's answers to

 6    paragraphs 2-42 of the complaint, said allegations are denied.
 7
                           II. JURISDICTION AND VENUE
 8
 9            2.   In answer to paragraph 2 of the complaint, defendant admits only
10
      that this Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331.
11
      Defendant denies the remaining allegations contained in paragraph 2.
12
13            3.   In answer to paragraph 3 of the complaint, defendant admits the
14
      same.
15
16            4.   In answer to paragraph 4 of the complaint, defendant admits only

17    that paragraph 4 purports to describe the basis of the action herein. Defendant
18
      denies the remaining allegations contained in paragraph 4.
19
20            5.   In answer to paragraph 5 of the complaint, defendant is without
21    information or knowledge sufficient to form a belief as to the truth of said
22
      allegations, and therefore denies the same.
23
24                                     III. PARTIES
25
              6.   In answer to the first sentence of paragraph 6 of the complaint,
26
27
      defendant is without information or knowledge sufficient to form a belief as to

28    the truth of said allegations, and therefore denies the same except to admit that
29
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 3
      Benton County is in the Eastern District of Washington. In answer to the
 4
 5    second sentence of paragraph 6 of the complaint, the same sets forth a legal

 6    conclusion to which no answer is required. To the extent any answer is
 7
      required, defendant denies the same.
 8
 9            7.    In answer to paragraph 7 of the complaint, defendant admits the
10
      same.
11
                                        IV. FACTS
12
13            8.    In answer to paragraph 8 of the complaint, defendant admits the
14
      same.
15
16            9.    In answer to paragraph 9 of the complaint, defendant admits that

17    plaintiff owed LFOs on three cause numbers as of April 2014, and that plaintiff
18
      was entered into Benton County’s “pay or appear” program. Defendant admits
19
20    that the written terms and requirements of the program agreement state what
21    they state and denies any further or different characterization of the same.
22
      Defendant denies that plaintiff was current at various material times on her
23
24    monthly payments of some or all of the LFOs arising out of her convictions.
25
      Defendant denies the remaining allegations contained in paragraph 9.
26
27
              10.   In answer to paragraph 10 of the complaint, defendant admits that

28    some payments were made on plaintiff’s behalf by someone, including an on-
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      line payment of $150 on one of plaintiff’s accounts on or about April 17, 2014.
 4
 5    Defendant is without information or knowledge sufficient to form a belief as to

 6    the truth of the allegation that payments were made by Ms. Sleater’s mother
 7
      and therefore denies the same. Defendant admits that certain accounts of
 8
 9    plaintiff were in arrears. Defendant denies the remaining allegations contained
10
      in paragraph 10.
11
              11.   In answer to paragraph 11 of the complaint, defendant admits that
12
13    on or about April 22, 2014, the Benton County Clerk’s office sought and
14
      obtained arrest warrants for Ms. Sleater on two cause numbers listed in arrears
15
16    without scheduling a hearing and without issuing a summons or other directive

17    to appear before the court. Defendant denies the remaining allegations
18
      contained in paragraph 11.
19
20            12.   In answer to paragraph 12 of the complaint, defendant admits the
21    same.
22
              13.   In answer to paragraph 13 of the complaint, defendant admits that
23
24    no probable cause hearing occurred with respect to the warrants precipitating
25
      Ms. Sleater’s arrest occurring on May 16, 2014. Defendant denies the
26
27
      remaining allegations contained in paragraph 13.

28
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              14.   In answer to paragraph 14 of the complaint, defendant admits the
 4
 5    same with respect to the warrants precipitating Ms. Sleater’s arrest occurring

 6    on May 16, 2014. Defendant is without information or knowledge sufficient to
 7
      form a belief as to the truth of the remaining allegations contained in paragraph
 8
 9    14 and therefore denies the same.
10
              15.   In answer to paragraph 15 of the complaint, defendant admits the
11
      existence of a decision of the Washington State Court of Appeals filed June 14,
12
13    2016, and further avers that said decision states what it states and denies any
14
      further or different characterization of the same. Defendant denies the
15
16    remaining allegations contained in paragraph 15.

17            16.   In answer to paragraph 16 of the complaint, defendant admits that
18
      the decision of the Court of Appeals has such precedential authority as is
19
20    afforded by the law. Defendant denies the remaining allegations contained in
21    paragraph 16.
22
              17.   In answer to paragraph 17 of the complaint, defendant denies the
23
24    same.
25
              18.   In answer to paragraph 18 of the complaint, defendant denies the
26
27
      same.

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              19.   In answer to paragraph 19 of the complaint, defendant denies the
 4
 5    same.

 6                        V. CLASS ACTION ALLEGATIONS
 7
              20.   In answer to paragraph 20 of the complaint, defendant admits only
 8
 9    that the same purports to describe the basis of the action herein and the
10
      provisionally proposed class definition. Defendant denies the remaining
11
      allegations contained in paragraph 20.
12
13            21.   In answer to paragraph 21 of the complaint, defendant denies the
14
      same.
15
16            22.   In answer to paragraph 22 of the complaint, defendant denies the

17    same.
18
              23.   In answer to paragraph 23 of the complaint, defendant denies the
19
20    same.
21            24.   In answer to paragraph 24 of the complaint, defendant denies the
22
      same.
23
24            25.   In answer to paragraph 25 of the complaint, defendant is without
25
      information or knowledge sufficient to form a belief as to the truth of said
26
27
      allegations, and therefore denies the same.

28
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 3
              26.   In answer to paragraph 26 of the complaint, defendant denies the
 4
 5    same.

 6                              VI. CAUSES OF ACTION
 7
      A.      CIVIL RIGHTS – VIOLATION OF FOURTH, FIFTH AND
 8            FOURTEENTH AMENDMENTS
 9
10            27.   In answer to paragraph 27 of the complaint, defendant denies the
11
      same.
12
13            28.   In answer to paragraph 28 of the complaint, defendant denies the
14
      same.
15
16            29.   In answer to paragraph 29 of the complaint, defendant denies the

17    same.
18
              30.   In answer to paragraph 30 of the complaint, defendant denies the
19
20    same.
21            31.   In answer to paragraph 31 of the complaint, defendant denies the
22
      same.
23
24    B.      MUNICIPAL LIABILITY
25
              32.   In answer to paragraph 32 of the complaint, defendant admits that
26
27
      defendant has had, at various material times, one or more policies, customs, or

28    practices known as the "pay or appear" program, admits that the terms and
29
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      requirements of any of said policies, customs, or practices state what they state,
 4
 5    and denies any further or different characterization of the same. Defendant

 6    admits that certain aspects of the same were addressed in the Court of Appeals
 7
      decision filed June 14, 2016, which decision states what it states and denies
 8
 9    any further or different characterization of the same. Defendant denies the
10
      remaining allegations contained in paragraph 32.
11
              33.   In answer to paragraph 33, defendant admits that Benton County
12
13    is a "person" within the meaning of 42 U.S.C. § 1983 and that certain actions
14
      of Benton County in relation to the plaintiff were taken under the color of law.
15
16    Defendant denies the remaining allegations contained in paragraph 33.

17            34.   In answer to paragraph 34 of the complaint, defendant denies the
18
      same.
19
20            35.   In answer to paragraph 35 of the complaint, defendant denies the
21    same.
22
                                     VII. DAMAGES
23
24            36.   In answer to paragraph 36 of the complaint, defendant denies the
25
      same.
26
27
              Except to the extent specifically admitted above, defendant denies all

28    remaining allegations of the complaint.
29
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                              VIII. REQUEST FOR RELIEF
 4
 5          Defendant denies that plaintiff is entitled to judgment against it and

 6    further denies that plaintiff is entitled to any of the relief sought in the
 7
      complaint. Defendant further denies that this case should be certified as a class
 8
 9    action pursuant to FRCP 23(b)(2), (3).
10
                             IX. AFFIRMATIVE DEFENSES
11
            1.     Plaintiff has failed to state a claim upon which relief may be
12
13    granted.
14
            2.     Some or all of the claims of plaintiff and/or any putative class
15
16    members against defendant for themselves or for members of their proposed

17    class are barred due to bona fide disputes concerning the obligation of payment
18
      under the pay or appear program.
19
20          3.     Some of the claims of plaintiff and/or any putative class members
21    against defendant for themselves or for members of their proposed class are
22
      barred because one or more of the plaintiffs and/or any putative class members
23
24    knowingly submitted to some or all of the conduct by defendant that plaintiff
25
      challenges herein.
26
27
            4.     This action is not properly maintainable as a class action because

28    plaintiff cannot establish all of the necessary elements for class certification in
29
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      that, among other things: common issues of fact or law do not predominate; to
 4
 5    the contrary, individual issues predominate; plaintiff's claims are not

 6    representative or typical of claims of the putative class; plaintiff is not a proper
 7
      class representative; plaintiff and alleged putative class counsel are not
 8
 9    adequate representatives of the alleged putative class; there does not exist a
10
      well-defined community of interest as to the questions of law and fact
11
      involved; the putative class is sufficiently manageable without implementing a
12
13    class action mechanism and, therefore, it is not the superior method for
14
      adjudicating this dispute; and, the alleged putative class is not ascertainable,
15
16    nor are its members identifiable.

17          5.     This action is not properly maintainable as a class action because
18
      plaintiff's claims are unique to plaintiff, which renders plaintiff incapable of
19
20    adequately representing the putative class.
21          6.     Class or subclass certification would be inappropriate due to
22
      conflicts of interest between plaintiff and putative class or subclass members,
23
24    or between and among putative class or subclass members.
25
            7.     The claims of plaintiff and/or any putative class members are
26
27
      barred, or limited, by the applicable statutes of limitations. Further, the

28    applicability of the statutes of limitations requires individualized
29
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      determinations for each putative member of the purported class, thereby
 4
 5    precluding class-wide resolution.

 6          8.     Class certification is inappropriate due to defendant's lawful
 7
      policies, pursuant to Walmart Stores, Inc. v. Dukes, 564 U.S. 338 (2011).
 8
 9          9.     Defendant and all persons for whom defendant is legally
10
      responsible acted at all times in good faith and with reasonable grounds for
11
      believing that they had not violated Washington or federal law and are
12
13    therefore entitled to qualified immunity, absolute immunity, or other forms of
14
      immunity.
15
16          10.    Plaintiff fails to establish municipal liability pursuant to Monell v.

17    Dept. of Social Services, 436 U.S. 658 (1978) and its progeny.
18
            11.    If the plaintiff and/or any putative class members have sustained
19
20    any damages from the conduct of defendant, which defendant disputes, then
21    some or all of these alleged damages may have been proximately caused by
22
      other individuals or entities for whom defendant is not legally responsible.
23
24          12.    The complaint and every claim for relief therein is barred, in
25
      whole or in part, to the extent that damages, if any, resulted from the acts
26
27
      and/or omissions of plaintiff and/or any putative class members.

28          13.    Damages of plaintiff and/or any putative class members are
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      subject to offset for debts owed to defendant.
 4
 5          14.     Damages of plaintiff and/or any putative class members are in

 6    whole or in part de minimis.
 7
            15.     The claims of plaintiff and/or any putative class members are
 8
 9    barred, or limited, under such equitable defenses as the evidence demonstrates,
10
      including but not limited to the doctrines of waiver, estoppel, unclean hands,
11
      and laches.
12
13          16.     The claims of plaintiff and/or any putative class members are
14
      barred, or limited, to the extent that their damages were proximately caused in
15
16    whole or in part by their wanton and willful misconduct in intentionally acting

17    in disregard of the consequences thereof.
18
                               X. DEMAND FOR JURY TRIAL
19
20          Pursuant to FRCP 38(b), defendant demands a trial by jury of this action.
21                               PRAYER FOR RELIEF
22
            WHEREFORE, having fully answered the complaint, defendant prays
23
24    for relief as follows:
25
            1.      That the complaint and each cause of action therein be dismissed
26
27
      with prejudice;

28
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            2.     That the plaintiff and the putative class take nothing by way of the
 4
 5    complaint;

 6          3.     For an award of all reasonable costs and reasonable attorneys’ fees
 7
      incurred herein as may be recovered by applicable law; and
 8
 9          4.     That the Court order such other and further relief for defendant as
10
      the Court deems just and proper.
11
                 DATED THIS 22nd day of May, 2017.
12
13                                    s/ KENNETH W. HARPER
                                      WSBA #25578
14
                                      Menke Jackson Beyer, LLP
15                                    Attorneys for Defendant Benton County
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 3
                                CERTIFICATE OF SERVICE
 4
 5
            I hereby certify that on May 22, 2017, I filed the foregoing with the
 6
 7    Clerk of the Court using the CM/ECF System, which will send notification of
 8    such filing to the following:
 9
      Mr. Breean L. Beggs                   Bbeggs@pt-law.com
10    Mr. Andrew S. Biviano                 abiviano@pt-law.com
11
      and I hereby certify that I have mailed by United States Postal Service the
12
13    document to the following non-CM/ECF participants:
14
            None.
15
16                                    s/ KENNETH W. HARPER
                                      WSBA #25578
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